              Case 24-00184-ELG                   Doc 1      Filed 05/29/24 Entered 05/29/24 06:36:47                              Desc Main
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Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF COLUMBIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an amended
                                                                                                                              filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                4263 6TH ST SE APARTMENTS LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  4263 6th St SE
                                  #103
                                  Washington, DC 20032
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  District of Columbia                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    4263 6TH ST SE APARTMENTS LLC                                                                 Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5311

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the               Chapter 7
     debtor filing?
                                          Chapter 9
     A debtor who is a “small
                                          Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if any
                                                                  of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                                  Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against the        Yes.
     debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor     See Attachment                                                   Relationship
                                                 District                                  When                              Case number, if known

Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
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Debtor   4263 6TH ST SE APARTMENTS LLC                                                             Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
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Debtor    4263 6TH ST SE APARTMENTS LLC                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
           for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on       May 29, 2024
                                                   MM / DD / YYYY


                              X /s/ Ali Razjooyan                                                          Ali Razjooyan
                                  Signature of authorized representative of debtor                         Printed name

                                  Title   Manager




18. Signature of attorney     X /s/ Maurice Verstandig                                                      Date    May 29, 2024
                                  Signature of attorney for debtor                                                 MM / DD / YYYY

                                  Maurice Verstandig
                                  Printed name

                                  The Belmont Firm
                                  Firm name

                                  1050 Connecticut NW
                                  Suite 500
                                  Washington, DC 20036
                                  Number, Street, City, State & ZIP Code


                                  Contact phone                                   Email address      mac@mbvesq.com


                                  Bar number and State




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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Debtor     4263 6TH ST SE APARTMENTS LLC                                                     Case number (if known)
           Name




Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF COLUMBIA

Case number (if known)                                                   Chapter     11
                                                                                                                           Check if this an amended
                                                                                                                           filing



                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     1416 Eastern Ave NE LLC                                                 Relationship to you                Affiliate
District   District of Columbia                       When     5/29/24             Case number, if known              24-180-ELG
Debtor     2501 Naylor Rd SE LLC                                                   Relationship to you                Affiliate
District   District of Columbia                       When     5/29/24             Case number, if known              24-182-ELG
Debtor     4303-4313 Wheeler Rd SE LLC                                             Relationship to you                Affiliate
District   District of Columbia                       When     5/29/24             Case number, if known              24-183-ELG
Debtor     945 Longfellow St NW LLC                                                Relationship to you                Affiliate
District   District of Columbia                       When     5/29/24             Case number, if known              24-181-ELG




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 5
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The undersigned, being the duly authorized manager of each of 1416 Eastern Ave NE LLC; 945
Longfellow St NW LLC; 2501 Naylor Rd SE LLC; 4303-4313 Wheeler Rd SE LLC; 4263 6th St
SE Apartments, LLC; 4935 NHB Ave NE, LLC; 3968 MLK LLC; 4010 9th Street SE LLC; 2440
S St SE, LLC; and 4400 Hunt Pl NE, LLC
does resolve as follows:

      WHEREAS, the Companies each own an eponymous real estate asset, together with certain
improvements thereupon, in the District of Co

      WHEREAS, each of the Real Estate Assets is scheduled to be sold at foreclosure on the
  th
29 day of May, 2024; and

        WHEREAS, the Companies each believe their correlative Real Estate Asset will fetch a
higher and better value if sold through alternative means or, in the alternative, may produce income
sufficient to pay obligations thereupon if such obligations are strategically reorganized; and

       WHEREAS, there exists an abiding belief that the affairs of each Company may be best
continued through reorganization, with focus on the best interests of all creditors and equity
holders;

       IT IS NOW, THEREFORE, RESOLVED as follows:

       1.      Each of the Companies shall engage The VerStandig Law Firm, as general
reorganization counsel, with the express objective of having said counsel advise each Company in
connection with the strategic filing of a petition for relief pursuant to Chapter 11 of Title 11 of the
United States Code;

      2.     Ali Razjooyan shall continue in his services as manager of each Company and shall
work with counsel to guide each Company through the bankruptcy process;

       3.     Ali Razjooyan is expressly authorized to sign bankruptcy petitions, schedules,
statements and other correlative documents on behalf of each Company, and to serve as the


       4.      Any actions heretofore taken to engage The VerStandig Law Firm, LLC as general
reorganization counsel are expressly ratified.




                                   [Signature on Following Page]


                                                  1
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Dated this 28th day of May, 2024


1416 EASTERN AVE NE LLC
945 LONGFELLOW ST NW LLC
2501 NAYLOR RD SE LLC
4303-4313 WHEELER RD SE LLC
4263 6TH ST SE APARTMENTS, LLC
4935 NHB AVE NE, LLC
3968 MLK LLC
4010 9TH STREET SE LLC
2440 S ST SE, LLC
4400 HUNT PL NE, LLC



By:    ________________________
       Ali Razjooyan




                                              2
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 Fill in this information to identify the case:

 Debtor name         4263 6TH ST SE APARTMENTS LLC

 United States Bankruptcy Court for the:            DISTRICT OF COLUMBIA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           May 29, 2024                           X /s/ Ali Razjooyan
                                                                       Signature of individual signing on behalf of debtor

                                                                        Ali Razjooyan
                                                                       Printed name

                                                                       Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name 4263 6TH ST SE APARTMENTS LLC
 United States Bankruptcy Court for the: DISTRICT OF COLUMBIA                                                                                         Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 District of Columbia                                           4263-4267 6th                                        $29,437.41               $409,200.00                 $29,437.41
 Water and Sewer Aut                                            Street,
 1385 Canal Street,                                             SEWashington, DC
 SE                                                             20032
 Washington, DC
 20003
 Massey Property                                                                                                                                                                  $0.00
 Investors LLC
 12320 Quilt Patch Ln.
 Bowie, MD 20720
 Pepco                                                                                                                                                                            $0.00
 P.O. Box 13608
 Philadelphia, PA
 19101
 Pro Painting &                                                                                                                                                                   $0.00
 Remodeling Inc.
 15105 Jennings Ln.
 Bowie, MD 20721
 TD Bank, N.A.                                                  4263-4267 6th                                       $930,980.23               $409,200.00               $523,697.88
 5900 N. Andrews                                                Street,
 Ave.                                                           SEWashington, DC
 Suite 200                                                      20032
 Fort Lauderdale, FL
 33309
 US Realty LLC                                                                                                                                                                    $0.00
 2300 N ST NW
 STE 300-RLK

 Washington, DC
 20037
 Washington Gas and                                                                                                                                                               $0.00
 Light Company
 1000 Maine Ave SW
 7th Floor
 Washington, DC
 20024




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                                             United States Bankruptcy Court
                                                                         District of Columbia
 In re      4263 6TH ST SE APARTMENTS LLC                                                                            Case No.
                                                                                   Debtor(s)                         Chapter        11

                                                        LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                        Kind of Interest
 business of holder
 Eimon Razjooyan                                                     Member
 117 Blytham Ridge Lane
 Potomac, MD 20854


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date       May 29, 2024                                                      Signature /s/ Ali Razjooyan
                                                                                            Ali Razjooyan

                      Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                       18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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LOCAL OFFICIAL FORM 102

                                                              UNITED STATES BANKRUPTCY COURT
                                                               FOR THE DISTRICT OF COLUMBIA
 In re                                                                                                                                  )
 4263 6TH ST SE APARTMENTS LLC
                                                                                                                                        )         Case No.
                                                                                                                                        )
                                                                                                                                        )          Chapter 11
                                                                                        Debtor(s).                                      )

                                                 DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)

1.     Pursuant to 11 U.S.C. § 329(a) and Federal Rule of Bankruptcy Procedure 2016(b), I certify that I am the attorney for the above named debtor(s)
       and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
       or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

             For legal services, I have agreed to accept a flat fee of .................................................                          $
             Filing Fee .......................................................................................................................   $
             Prior to the filing of this statement I have received .......................................................                        $
             Balance Due ...................................................................................................................      $

                                                                                                            OR

I have agreed to provide services on the following terms and conditions (i.e., hourly or without compensation on a pro bono basis). If pro bono,
questions 2, 3, and 4 may be omitted

 For legal services, I have agreed to accept and received a retainer of $5,000.00.
 The undersigned shall bill against the retainer at an hourly rate of $495.00

2.          The source of the compensation paid to me was:
                           Debtor                        Other (specify):               Geneva Holding Co LLC

3.       The source of compensation to be paid to me is:
                  Debtor             Other (specify):    The primary source of compensation to be paid is the debtor. However, the
engagement agreement for ten related entities provides that any portion of a retainer unused by one entity may be applied to the legal fees
of one or more of the other nine entities.

4                          I have not agreed to share the above-disclosed compensation with any other person unless they are members or associates of my law
            firm

                      I have agreed to share the above-disclosed compensation with another person or persons who are not members or associates of my
            law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.          In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    2016-2(b) if taking the no-look fee
      d.    [Other provisions as needed]
                Representation in all matters within this bankruptcy case.
6.          By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                Representation in any matters external to this Honorable Court.




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                                                                           CERTIFICATION
           I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Date:     May 29, 2024                                                          /s/ Maurice Verstandig
                                                                                 Signature of attorney
                                                                                 Maurice Verstandig
                                                                                 Name, Bar Number
                                                                                 The Belmont Firm
                                                                                 Firm
                                                                                 1050 Connecticut NW
                                                                                 Suite 500
                                                                                 Washington, DC 20036
                                                                                 Address

                                                                                 Telephone
                                                                                 mac@mbvesq.com
                                                                                 Email Address




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                            Chanel Jackson
                            4263 6th Street, SE Unit 1
                            Washington, DC 20032


                            DC Office of Tax and Revenue
                            1101 4th St., SW #270
                            Washington, DC 20024


                            District of Columbia Water and Sewer Aut
                            1385 Canal Street, SE
                            Washington, DC 20003


                            Internal Revenue Service
                            PO Box 7346
                            Philadelphia, PA 19101-7346


                            Jennifer Patrick
                            4265 6th Street, SE Unit 2
                            Washington, DC 20032


                            Kris Kieh
                            4263 6th Street, SE Unit 2
                            Washington, DC 20032


                            Massey Property Investors LLC
                            12320 Quilt Patch Ln.
                            Bowie, MD 20720


                            Michael D. Nord, Esq.
                            Gebhardt & Smith LLP
                            One South Street Suite 2200
                            Baltimore, MD 21202


                            Patrice Taylor
                            4265 6th Street, SE Unit 1
                            Washington, DC 20032
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                            Pepco
                            P.O. Box 13608
                            Philadelphia, PA 19101


                            Pro Painting & Remodeling Inc.
                            15105 Jennings Ln.
                            Bowie, MD 20721


                            TD Bank, N.A.
                            5900 N. Andrews Ave. Suite 200
                            Fort Lauderdale, FL 33309


                            US Realty LLC
                            2300 N ST NW STE 300-RLK
                            Washington, DC 20037


                            Washington Gas and Light Company
                            1000 Maine Ave SW 7th Floor
                            Washington, DC 20024
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                                                                     United States Bankruptcy Court
                                                                            District of Columbia
  In re      4263 6TH ST SE APARTMENTS LLC                                                              Case No.
                                                                                      Debtor(s)         Chapter    11




                                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for 4263 6TH ST SE APARTMENTS LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



     None [Check if applicable]




  May 29, 2024                                                           /s/ Maurice Verstandig
 Date                                                                    Maurice Verstandig
                                                                         Signature of Attorney or Litigant
                                                                         Counsel for 4263 6TH ST SE APARTMENTS LLC
                                                                         The Belmont Firm
                                                                         1050 Connecticut NW
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